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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
UNITED STATES OF AMERICA

v. CRIMINAL NO. TDC-17-388

CRIMINAL NO. TDC-19-35
AMINIKA WRIGHT,

Defendant

SUPPLEMENTAL RESPONSE IN OPPOSITION TO
DEFENDANT’S MOTION FOR SENTENCING REDUCTION

OnM

ay 13,2020, the Government filed its response in opposition to the defendant’s

motion for sentencing reduction. The Government now supplements that response in light

of intervening Department of Justice guidance. Based on that guidance, the Government

concedes that the defendant’s Type | diabetes, and perhaps other of her medical conditions,

constitute “extraordinary and compelling circumstances” during the current andemic,
o

even if these conditions in ordinary times would not allow compassionate release,

The Government continues to oppose the defendant’s motion for the other reasons

stated in the Government’s response, including that the defendant has failed to exhaust

administrative remedies, she continues to bea community danger, and the § 3553(a) factors

do not counsel in favor of release.

Respectfully submitted.

Robert . Hur
United States Attorney

/s/Thomas P. Windom
Thomas P. Windom

‘Assistant United States Attorney

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